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                                             February 3, 2025

  VIA CM/ECF
  Hon. Nina R. Morrison, U.S. District Judge
  U.S. District Court for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                       Re: Steur v. Glock, Inc., et. al.
                       Civil Case No.: 1:22-cv-3192

  Dear Judge Morrison:

          My office represents Plaintiff Ilene Steur. I write with the consent of the parties and the
  Intervenor to respectfully request an additional six-month stay of this instant action, pending the
  decision of the United States Court of Appeals for the Second Circuit in Nat'l Shooting Sports
  Found., Inc. v. James, No. 22-1374. In the event that the Court grants this instant request, the
  parties and Intervenor shall also file a joint status report within seven days of the decision in Nat'l
  Shooting Sports Found., Inc. v. James, No. 22-1374 or by August 7, 2025, whichever is earlier.

           By way of background, on August 2, 2022, Magistrate Judge Peggy Kuo held a pre-motion
  conference in this action at which, inter alia, the parties and the Intervenor requested that this action
  - including all discovery and Defendant's anticipated motion to dismiss - be stayed pending the
  decision of the United States Court of Appeals for the Second Circuit in Nat'l Shooting Sports
  Found., Inc. v. James, No. 22-1374. Judge Kuo had recommended to Judge Diane Gujarati that
  this action be so stayed. The Court adopted the recommendation. Accordingly, on August 5, 2022,
  Judge Diane Gujarati ordered that this action to be stayed pending the Second Circuit's decision in
  the aforementioned case. Judge Diane Gujarati also directed the parties to file a joint status report
  within seven days of the decision or by February 6, 2023, whichever was earlier.

          On February 6, 2023, the parties jointly submitted a status report and requested an
  additional six-month stay, which was granted. Judge Morrison directed the parties to file a joint
  status report within seven days of the decision or by August 7, 2023, whichever was earlier.

         On August 6, 2023, the parties jointly submitted a status report and requested an additional
  six-month stay, which was granted. Judge Morrison directed the parties to file a joint status report
  within seven days of the decision or by February 7, 2024, whichever was earlier.
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          On February 2, 2024, the parties jointly submitted a status report and requested an
  additional six-month stay, which was granted. Judge Morrison directed the parties to file a joint
  status report within seven days of the decision or by August 7, 2024, whichever was earlier.

          On February 1, 2024, the parties jointly submitted a status report and requested an
  additional six-month stay, which was granted. Judge Morrison directed the parties to file a joint
  status report within seven days of the decision or by February 7, 2025, whichever was earlier.

         Upon information and belief, the Second Circuit has yet to render a decision in the Nat'l
  Shooting Sports Found., Inc. v. James, No. 22-1374, matter. The Second Circuit heard oral
  argument on November 3, 2023 in the aforementioned matter. As a decision has yet to be rendered
  by the Second Circuit, the parties respectfully request an additional six-month stay.

          Thank You for Your consideration of this request.


                                               Respectfully submitted,



                                               Mark D. Shirian

  Encl.

  cc:     All attorneys of record (via ECF service)
